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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

TARYN N. DUIS,                                )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )         Case No. 2:20-cv-78
                                              )
FRANCISCAN ALLIANCE INC., a/k/a               )
FRANCISCAN HEALTH CROWN                       )
POINT,                                        )
                                              )
              Defendant.                      )

                                           ORDER

       Due to the court’s order granting a new trial [DE 105], the Clerk is DIRECTED to

reopen this case and vacate the judgment accordingly.

       ENTERED this 4th day of May, 2023.

                                                            /s/ Andrew P. Rodovich
                                                            United States Magistrate Judge
